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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

IN RE:         KATRINA CANAL BREACHES                               CIVIL ACTION
               CONSOLIDATED LITIGATION
                                                                    NO. 05-4182

                                                                    SECTION “K” (2)

FILED IN:      05-4181, 05-4182, 05-4191, 05-4568, 05-5237,
               05-6073, -5-6314, 05-6324, 05-6327, 05-6359,
               06-0020, 06-1885, 06-0225, 06-0886, 06-11028,
               06-2278, 06-2287, 06-2346, 06-2545, 06-3529,
               06-4065, 06-4389, 06-4634, 06-4931, 06-5032,
               06-5042, 06-5159, 06-5163, 06-5367, 06-5471,
               06-5771, 06-5786, 06-5937, 06-7682, 07-0206,
               07-0647, 07-0993, 07-1284, 07-1286, 07-1288,
               and 07-1289.


                          LEVEE PSLC’S REPLY TO
              SEWERAGE AND WATER BOARD OF NEW ORLEANS’
           OPPOSITION TO MOTION TO DISMISS WITHOUT PREJUDICE

MAY IT PLEASE THE COURT:

       The Sewerage and Water Board of New Orleans (SWB) advances various versions of the

same argument against dismissal of Plaintiffs’ claims without prejudice. It also makes the claim

that “literally nothing has been done to move the state court litigation forward and the parties



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would have to begin litigation anew.” For the reasons which follow, SWB’s arguments should

be disregarded and the Plaintiffs’ claims in this action should be dismissed without prejudice so

that this state entity can conclude this litigation in state court.

                                             ARGUMENT

I.      Plaintiffs have not delayed the Civil District Court litigation.

        SWB argues that “literally nothing has been done to move the state court litigation

forward and the parties would have to begin litigation anew.” In reality, there have been four

years’ worth of efforts to recuse the state court trial judge (and every other judge of the Civil

District Court). Here is what has happened.

"       Hurricane Katrina strikes the Metropolitan New Orleans area. Breaches occurred in both

        the 17th Street and London Avenue Canal flood walls.

"       Suit is filed in Civil District Court for the Parish of Orleans. The case is promptly

        removed to this Court on the dubious ground of defendants claiming “federal officer”

        status.

"       Plaintiffs move for remand.

"       Your Honor remands the case back to Civil District Court.

"       Plaintiffs amend their petition to add two additional Louisiana defendants, and make only

        state law allegations against them.

"       Defendants again remove the case to this Court.

"       Your Honor again remands the case back to Civil District Court for the same reasons

        enunciated in his original opinion.

"       Plaintiffs file seek a status conference in order to get the case moving.


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"      Thereafter, Orleans Levee District filed multiple motions to recuse various judges in Civil

       District Court, including the initial trial judge, Judge Kern Reese. The case then

       floundered on the various motions recuse because, despite the fact that the CDC judges

       felt that they could be impartial, OLD challenged the judges’ every refusal to recuse

       themselves.

"      Finally, Judge Bagneris, at the hearing on his motion to recuse, urged the parties to seek

       writs from the higher courts following his decision, regardless of how he ruled.

"      On April 30, 2007 Judge Bagneris denied the defendants’ motion to recuse him from

       hearing the motion to recuse Judge Reese. Judge Bagneris found as fact that the

       defendant-movers failed to make an actual showing of bias and prejudice required to

       warrant the judge’s recusal.

"      On June 25, 2007, the Fourth Circuit Court of Appeal denied the defendants’ writ

       application, because no bias or prejudice was shown.

"      On October 12, 2007, the Supreme Court of Louisiana also denied the defendants’ writ

       application.

"      Despite the foregoing rulings by both the Fourth Circuit and the Louisiana Supreme

       Court, defendants filed the same motion(s) to recuse Judge Bagneris and Judge Reese for

       the exact same reasons enunciated in their original motion. The only exception is that

       they now referenced lawsuits filed by Judge Bagneris and Dorothy Reese, Judge Kern

       Reese’s wife.

"      On May 23, 2008, Judge Bagneris issued a Judgment and Reasons for Judgment. He

       ruled that he could properly hear the motion to recuse Judge Reese, and that the evidence


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       presented did not show that Judge Reese would be biased, and that the record did not

       mandate that Judge Reese be recused.

"      On July 28, 2008, the Fourth Circuit expressly found that Judge Bagneris did not abuse

       his discretion in denying the applicant’s motion to recuse Judge Bagneris from hearing

       the motion to recuse Judge Reese from hearing the above captioned matter.

"      On November 10, 2008, the Supreme Court of Louisiana denied the defendants’ writ

       applications on their motion to recuse Judge Bagneris from hearing the motion to recuse

       Judge Reese.

"      On February 9m, 2009, being unsatisfied with two complete trips through the Louisiana

       appellate courts, defendants sought relief from the U.S. Supreme Court, claiming that the

       Louisiana Courts’ decisions deprived them of their right to a fair trial and impartial

       tribunal under the Due Process Clause of the Fourteenth Amendment.

"      On April 13, 2009, Plaintiffs filed their opposition to the Defendant’s Petition for Writ of

       Certiorari.

"      On May 28, 2009, the U.S. Supreme Court denied the defendants’ petition.

       As the Court can see, SWB’s statement that “literally nothing has been done to move the

state court litigation forward and the parties would have to begin litigation anew” suggests that

Plaintiffs have engaged in dilatory conduct. In fact, it is the state court defendants (including

SWB) who have stalled matters for four years. In fact, it is the state court Plaintiffs who have

tried to move the case forward in the face of continual recusal motions. The Levee PSLC

respectfully suggests that this first argument by SWB should be disregarded.




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II.      If the Levee Plaintiffs seek “fairer fields,” isn’t SWB doing the same thing?

         Last February, the Court denied Plaintiffs first motion to dismiss for lack of

jurisdiction because one of the levee board insurers was facially diverse for reasons of CAFA

jurisdiction. SWB wanted to stay in federal court. Now the diverse insurer is dismissed, the

Court having recently approved a class settlement with the levee boards. This means that there is

no basis for federal jurisdiction over a state entity. Although the Levee PSLC’s latest motion

does not directly address that issue, the fact remains that there is presently no jurisdictional basis

for keeping SWB in this Court.

III.     This case is different from Brookstone Brothers Holding Inc.

         SWB relies on the Fifth Circuit’s opinion in Brookstone Brothers Holding Inc. v. Dayco

Products, Inc., 554 F.3d 595 (5th Cir. 2009), cert. denied, 129 S.Ct. 2865 (2009), for the

proposition that this litigation is just so far along that it would be an abuse of discretion to

dismiss it without prejudice. Unfortunately, while involving many parties and almost 20,000

docket entries (largely due to the widespread nature of the damages to person, property and life),

this litigation is nevertheless not in the same posture as the case in Brookstone Brothers Holding

Inc. Here, trial hasn’t already been continued four times, and no one is making final

preparations for trial. This case is not in a “late stage” by any stretch of the imagination.

         As far as re-litigation of issues goes, SWB has won several issues on summary judgment

(e.g., duty to construct or maintain flood walls) and one is hard-pressed to see how they might be

successfully “relitigated” in state court. SWB has provided no examples of that being done

successfully.

         SWB cites other “late stage” cases, including one from this District, entitled Braud v.


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Transport Services of Illinois, 2009 WL 413505 (E.D. La.), where a class certification hearing

was postponed pending a motion to dismiss without prejudice. There, unlike here, “.....the

parties were poised for the certification hearing.” Id.

        Next, SWB mentions the Court’s ruling on class certification in the “Barge” portion of

this litigation. Although a component of this overall Katrina litigation, the admiralty-based barge

litigation has nothing whatsoever to do with the canal litigation. It is irrelevant what the Court

has done – or not done – in that portion of the litigation.

IV.     Let’s talk about real prejudice.

        SWB complains that it will be “seriously prejudiced” by dismissal without prejudice of

the claims against it. Is that interest superior to the legal interests arising from the deaths of over

800 victims in Lakeview? They were “seriously prejudiced” too. Or what about the tens of

thousands of homes that were flooded? Their owners were “seriously prejudiced” too. To

pretend that there is some equivalence is absurd. SWB is already a defendant in state court and

that is precisely the right forum for trying what are all Louisiana law tort and wrongful death

claims. It is a sub-entity of the State of Louisiana and it belongs entirely in state court.

        A variation of this theme is the “S&WB has invested enormous time, money, energy and

intellectual capital reaching the current stage of this litigation.” Since when does the expenditure

of “intellectual capital” or other legal resources provide a ground for dismissing a defendant

which arguably caused so many deaths?

V.      The real reason SWB wants a dismissal with prejudice.

        Let’s also revisit the Court’s May 7, 2009 ruling on the “negligent dredging” issue in the

SWB’s recent motion for summary judgment. There, the Court held:


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                The SWB attempts to relieve itself of liability for its negligence, if
                any, arising from the dredging of the Canal contending that the
                dredging, as executed, complied with the parameters of the
                dredging permit issued to it by the Corps. Contrary to its
                contention, the SWB can be liable for negligent dredging even if
                the dredging, as completed, complied with the permit issued by the
                Corps. Because no government contractor defense is available to
                the SWB, compliance with the permit does not preclude a finding
                that the SWB negligently dredged the Canal.

        This is the real reason that SWB wants to avoid a dismissal without prejudice. The Court

has found that SWB may be liable to Plaintiffs and a failed class certification effort might force

individual trials in Civil District Court.

VI.     The class certification scheme.

        Amazingly, SWB claims that “It would be an abuse of discretion to allow plaintiffs to

escape a ruling in Levee on class certification by moving to dismiss their claims against S&WB

without prejudice.” Since when does a party which has no jurisdictional standing have a right to

demand a certification hearing? When did SWB file a motion for class certification? What right

does it have to demand that hearing? Might not this demand involve just a wee bit of judicial

time and a large expense to counsel?

        In fact, the beauty of having taken so much federal court discovery is that litigation in the

Civil District Court will be greatly streamlined! Rather than being delayed or inconvenienced,

SWB will enjoy a rapid path to trial. Rather than being a handicap, the federal proceedings thus

far will enable the state court to cut years out of the pre-trial proceedings.

VII.    Conclusion.

        For the foregoing reasons, the Levee PSLC’s pending motion to dismiss without

prejudice the remaining claims against SWB should be granted.


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                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on October 27, 2009, I electronically filed the foregoing with the Clerk of Court

by using the CM/ECF system which will send a notice of electronic filing to all participating counsel

of record. I further certify that there are no non-CM/ECF participants that would require a first-class

mailing to of the foregoing document and notice of electronic filing.

                                                       /s/ Joseph M. Bruno




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